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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA



 NATIONAL COUNCIL OF
 NONPROFITS, et al.,

                  Plaintiffs,
                                                           Civil Action No. 25 - 239 (LLA)
         v.

 OFFICE OF MANAGEMENT AND
 BUDGET, et al.,

                  Defendants.



                                              ORDER

        For the reasons stated in the accompanying Memorandum Opinion, it is hereby

        ORDERED that Plaintiffs’ Motion for a Preliminary Injunction, ECF No. 40, is GRANTED

to the extent that it is

        ORDERED that Defendants are enjoined from implementing, giving effect to, or reinstating

under a different name the unilateral, non-individualized directives in OMB Memorandum M-25-13

with respect to the disbursement of Federal funds under all open awards; it is further

        ORDERED that Defendants must provide written notice of the court’s preliminary

injunction to all agencies to which OMB Memorandum M-25-13 was addressed. The written

notice shall instruct those agencies that they may not take any steps to implement, give effect to, or

reinstate under a different name the unilateral, non-individualized directives in OMB Memorandum

M-25-13 with respect to the disbursement of Federal Funds under all open awards. It shall also

instruct those agencies to continue releasing any disbursements on open awards that were paused

due to OMB Memorandum M-25-13; it is further
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       ORDERED that this Order shall apply to the maximum extent provided for by Federal

Rule of Civil Procedure 65(d)(2) and 5 U.S.C. §§ 705 and 706; it is further

       ORDERED that Defendants shall file a status report on or before February 28, 2025,

apprising the court of the status of their compliance with this Order, including by providing a copy

of the written notice described above; it is further

       ORDERED that the parties shall meet and confer and file a joint status report proposing

next steps in this proceeding on or before February 28, 2025; and it is further

       ORDERED that Beatrice Adams’s Motion to Intervene, ECF No. 19, is DENIED.

       SO ORDERED.




                                                       LOREN L. ALIKHAN
                                                       United States District Judge

Date: February 25, 2025




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